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                                                              2021 Jan 26 PM 4:27
                                                CLERK OF THE REPUBLIC COUNTY DISTRICT COURT
                                                        CASE NUMBER: 2020-CV-000016




Court:                     Republic County District Court

Case Number:               2020-CV-000016

Case Title:                Felicitas Romona Cornett vs. Riverside
                           Transportation Inc
Type:                      Clerk's Extension of Time to Answer or Otherwise
                           Plead


                                                       SO ORDERED.




                                                       /s/ Kris Kling, Clerk of the District Court



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                 IN THE DISTRICT COURT OF REPUBLIC COUNTY, KANSAS

FELICITAS ROMONA CORNETT,                         )
                                                  )
                         Plaintiff,               )
                                                  )
v.                                                )       Case No. 2020-CV-0000116
                                                  )
RIVERSIDE TRANSPORTATION, INC.                    )
and JAC’LON ENEA MILLER,                          )
                                                  )
                         Defendants.              )

       CLERK’S EXTENSION OF TIME TO ANSWER OR OTHERWISE PLEAD
        On application of John A. Watt of Baker Sterchi Cowden & Rice, LLC of Overland Park, Kansas,

attorney for defendant Riverside Transportation, Inc., said defendant is granted an additional fourteen (14)

days or until February 9, 2021, to answer or otherwise plead. This Order is effective as of the date and time

shown on the electronic file stamp.


        BY THE COURT IT IS SO ORDERED.

Submitted by:
Baker Sterchi Cowden & Rice, LLC


/s/ John A. Watt
Shawn M. Rogers              KS #18888
John A. Watt                 KS #20175
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ATTORNEYS FOR DEFENDANT
RIVERSIDE TRANSPORTATION, INC.




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                               CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on this 26th day of January, 2021, a true and correct

copy of the foregoing document was sent electronically and/or mailed to the following:

Barry A. Clark
Clark & Platt, Chtd.
417 Poyntz Ave.
Manhattan, KS 66502

ATTORNEYS FOR PLAINTIFF
                                            /s/ John A. Watt




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